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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY


   IN RE: PROTON-PUMP INHIBITOR                           :       MDL NO. 2789
   PRODUCTS LIABILITY LITIGATION                          :       Civil Action No. 1:1 7-MD-2789

                                                                  JUDGE CLAIRE C. CECCHI



                          CASE MANAGEMENT ORDER NO.33
           (SELECTION OF BELLWETHER DISCOVERY CASES AND TRIAL CASES)

            The Court hereby issues the following Case Management Order (“CMO”) to govern the

  selection of Bellwether Discovery Cases and Bellwether Trial Cases.


      I.         Eligibility Requirements for the Bellwether Discovery Cases

            1.      The Plaintiffs whose cases are eligible for selection for bellwether discovery are

 Plaintiffs who, as of May 31, 2019, had: (a) complaints pending in this MDL proceeding that had

 been served upon all named Defendants; (b) provided a Plaintiff Fact Sheet that was

 “substantially complete in all respects” as set forth in Paragraph II.B. 1 of Case Management

 Order No. 9 regarding Plaintiff Fact Sheet and PFS Document Production; and (c) in accordance

 with Section III of Case Management Order No. 9, provided “Stage 1 Claim” evidence with

 respect to each named defendant, meaning Plaintiffs who had produced a record identifying the

 use of at least one of each named defendant’s proton pump inhibitor (“PPI”) products

 (hereinafter, the “Eligible Cases”).’




  As noted below, the parties contemplate a period of time for the parties to meet and confer over which cases are
 Eligible Cases.

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      II.        Selection Procedure for the Bellwether Discovery Cases

            1.      The parties are meeting and conferring to develop a list of the Eligible Cases.

  Any unresolved disputes about the eligibility of a particular case for bellwether discovery shall

  be presented to and decided by the Court. After all such disputes have been resolved, the Court

  and the parties will have a list of all Eligible Cases (the “Eligible Cases List”).

            2.      Thereafter, each side shall select five (5) cases from the Eligible Cases List and

  confidentially inform the Court of the selections. The Court shall remove the ten (10) selected

  cases from the Eligible Cases List and then provide the remaining Eligible Cases to the Clerk. A

 randomizer shall then be used by the Clerk to randomly select 200 cases from the remaining

  Eligible Cases, for a total of 210 cases (“the Remaining Eligible Cases”).

            3.      From the group of 210 cases, the PSC shall select sixteen (16) cases and the

 Defendants shall select sixteen (16) cases. From the group of thirty-two (32) cases selected by

 the PSC and Defendants, the PSC shall strike six (6) cases and the Defendants shall strike six (6)

 cases, leaving a pool of twenty (20) cases for core, case-specific discovery (the “Bellwether

 Discovery Cases”).

            4.      If at any time Plaintiffs dismiss one or more of the Bellwether Discovery Cases,

 the Court will allow Defendants to select an equal number of replacement cases from the

 Remaining Eligible Cases. If circumstances arise regarding the replenishment of cases whereby

 Defendants desire a different remedy, or Plaintiffs believe they should be entitled to

 replenishment or a different remedy, the Court may further meet and confer with the parties to

 determine whether any other replenishment procedures should be adopted.




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      III.        Selection Procedure for Bellwether Trial Cases

             1.      From the 20 Bellwether Discovery Cases, six (6) cases shall ultimately be chosen

  to serve as trial cases (“Bellwether Trial Cases). Following the completion of core, case-specific

  discovery in the Bellwether Discovery Cases, the parties shall submit either an agreed proposed

  case management order, or competing proposals if agreement cannot be reached, to govern the

  selection of six (6) of the Bellwether Discovery Cases for further case-specific discovery and

  trials. The selection process in that proposed case management order shall incorporate the

  following requirements: (1) the first trial of a Bellwether Discovery Case shall involve a plaintiff

  who does not reside in New Jersey and has circumstances pursuant to which applicable choice-

  of-law would not require the application of New Jersey substantive law; (ii) the second trial of a

  Bellwether Discovery case shall involve a plaintiff who resides in New Jersey andJor has

  circumstances pursuant to which applicable choice-of-law would dictate the application of New

  Jersey substantive law (a “New Jersey Plaintiff’); and (iii) the sequence of future third, fourth,

  fifth and sixth trials of Bellwether Discovery Cases shall be determined by the Court at a later

 date.


     IV. Lexecon Waivers

             1.      All Plaintiffs and all Defendants to which this order applies2 have agreed to

 affirmatively waive their right under Lexecon v. Mitberg Weiss, 523 U.S. 26 (1998) to object to

 this Court overseeing the trial of the case, to the extent necessary, only for trials 1 and 3 through

 6. Because the second trial shall involve a New Jersey Plaintiff, no Lexecon waiver is necessary


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   Novartis Pharmaceuticals Corporation, Novartis Institutes for Biomedical Research, Inc.,
 Novartis Vaccines and Diagnostics, Inc., and Novartis Corp. have not joined in this bellwether
 plan, and have not provided a Lexecon waiver, because these entities have taken the position that
 they are not proper parties in this litigation.


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  or has been given. Defendants’ Lexecon waivers herein are expressly conditioned upon each of

  the 6 trials being separate, individual plaintiff trials, not multi-plaintiff trials.




  IT IS SO ORDERED, this 20 day of t’Jo.j.,-r                                  ,2019.




                                                   HON. CLAIRE C. CECCHI
                                                   UNITED STATES DISTRICT JUDGE




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